Case 1:09-cv-21600-WMH Document 37 Entered on FLSD Docket 03/29/2013 Page 1 of 2
                                                                                                     .        .. .       womvz.w f.wm.sw
                                                                                             FILEDbyk- .          .

                                                                                                                              D.C.j
                                                                                                                                .



                                         IJNITED STATES DISTRIG COU RT
                                         SOUTH ERN DIA RIG O P FLO RID A
                                                 M Im DIW SION                                      MAP# '
                                                                                                         ai
                                                                                                          '
                                                                                                          .i '
                                                                                                          .  t3
                                                                                                              fO.'
                                                                                                              tt ?'
                                                                                                                  R
                                                                                                                  o
             LMSMedicallNC                               CASENO O9-216O0-CW -H0EVELER            STEVEN lb      l2,!-'n'
                                                                                                                       .R!L(' k'
                                                                                                                               -aiRE
             Plaintiffts)                                                                        CLERK I     J S DIS'T CT.
                                                                                                  S.
                                                                                                   .x.
                                                                                                      D  .of
                                                                                                      .. ;
                                                                                                     ,,
                                                                                                              FL
                                                                                                              .rizA
                                                                                                          .,.w,   wszkx-
                                                                                                                       swMI
                                                                                                                          zr.A
                                                                                                                             ,..MI

             D.FVASCONCELLOSS.
                             A.andALBEE IMPORTAND EXPORT.INC.
             Defendantts)
                                                        /
                                ACKNOW LEDGM ENT OF ASSIGNM ENT OFJUDGM ENT

             COMESNOW LM SMedicallNC sPlaintiffintheahw e-styledcaseandherebyprovidesthe
             followingsupportofanASSIGMNET OFJUDGM ENT:
             1)THATJudgmentwasenteredbythiscourtonoralxmt2qrddavofFebmmnr.2011.
             2)THATPlaintiffLMSM edicallNCwasawardedagainst
                 DefendantD.FVM CONCELLOSS.A.andALBEE IM PORTAND EXPORT.INC.,
             the sum of$qqo.
                           a82.oo .
             3)THATtherehavenotbeenanyrenewalssinceentryofsaidjudgmentbythiscourtandthat
               Plaintiffhasreceived$ o       (amount)ofjudgmentfrom Defendanttothepresent
             date.
             4)THATPlainti
                         ffwhom residesin68MarathonStreetArlingtonMA02474isthejudpnent
             creditorofrecord.
             5)THATthelastaddressofrecordforthejudgmentdebtorislqqoN.E.16r1StreetNol
                                                                                   'thMiami
             Beach Floridaaa162.


             6)THATlherebytransferandassigna1ltitle,z'
                                                     igyhtsandinterestinthewithinjudgment
                 tothefollowingperson:
             GanrW .Ebert
             2206KirbvSmith Drive
             BossierCit'vIA 71112-a7as

             7)THAT lherebyauthorizeM signee, Gan'Ebert,torecover,compromise,enforce,andsettle
             saidjudgment,andIwi
                               thdraw allrightsandclaimstosame.

             'l'
               heforegoinginstmzmentwasacknowledgedtomebyLM SM edicalINC,RepresentedbyJimmy
             W alkerwhoproduced MassachusettsDriversLicense# XXX-XX-XXXX,asidentiscation and
                    dthis flï'
             rttl/
                 ut.sv. X dayofF
                               ,
                               e-
                                e(
                                 b.re
                                    .a,2013intheStateofMassachusetts,Countyof
                                    ,


                 o
                 lt
             N       rySi   u                                  Ju    entCreditor
                                                                    M 'calINC      im   Walker

                                        pjr-.

                            MyCommise Exlfes
                 .              gljnep5,zo!5     ,
                                                                                          -
                                                                                           -7
     Case 1:09-cv-21600-WMH Document 37 Entered on FLSD Docket 03/29/2013 Page
                                                                            ,,
                                                                               ,
                                                                                2 of 2   l
                                                                                         6 l;
                                                                                            gg
                                                                                             -
                                                                                             ps

                 From the DE SK o f G ary W . Eb e rt
             Voice + (318)742-0064
             Fax    + (318)747-5134
              ar webert@ ail .com
USDC SD ofFL
CLERKS OFFICE                                     M onday, M arch 25,2013
40O N M iam iAve,
M iam i,FL 33128



R e : C IV IL ACTIO N NO .09-21600-Civ Hoeveler

Dear:    Honorable Clerk

Please find two copies of a assignment of Judgment for 09-21600-C ivplease file it into the
record 09-21600-C iv H oevelerand ilestam pthesecond copy and return ittom ein theenclosed envelope.

Further please find a check for $23.00 to cover the cost of two certified copies of the
Judgment captioned above . I have enclosed a envelope for return of the certified Copies of
the Judgment along with a file copy of the Assignment of Judgment .

Please enter my address as the party to be notified in this matter .


                       f


Ga ry W . Eb            t

Gary Ebed
Mob 1 318 840 8688
+1 318 742 0064 Office 2
+ 1 504 717 4052 Officel
+ 1 318 747-5134 FAX
Home +1318 742 0064
2206 kirby Smith drive
Bossiercity Louisiana
71112 4745
E-mailgarywebert@gmail.com


                           2206 Kirby Sm ith Drive Bossier City
                               Lou isiana U S A 71112-4745
